         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 1 of 33




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :      Case No:
                                               :
               v.                              :
                                               :      VIOLATIONS:
                                               :
RACHEL MYERS, and                              :      18 U.S.C. § 1752(a)(1) and (2)
MICHAEL GIANOS,                                :      (Restricted building or grounds)
                                               :
                                               :      40 U.S.C. § 5104(e)(2)(D) and (G)
               Defendants.                     :      (Violent entry or disorderly conduct)


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR AN ARREST WARRANT

       I, Neil Larson, Jr., being first duly sworn, hereby depose and state as follows:

                           INTRODUCTION AND BACKGROUND

       1.      I make this affidavit in support of an application for an arrest warrant for

RACHEL MYERS and MICHAEL GIANOS.

       2.      On January 6, 2021, your affiant, Neil Larson Jr. was on duty and performing my

official duties as a Task Force Officer. Specifically, I am assigned to the Philadelphia Field Office,

Joint Terrorism Task Force, tasked with investigating criminal activity including criminal activity

occurring on and around the United States Capitol grounds. As a Task Force Officer, I am

authorized by law or by a Government agency to engage in or supervise the prevention, detention,

investigation, or prosecution of a violation of Federal criminal laws. Currently, I am a tasked with

investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This
         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 2 of 33




affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.



                                                  2
         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 3 of 33




Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      PROBABLE CAUSE

       10.     MICHAEL GIANOS (hereinafter GIANOS) is a 33-year-old American citizen. As

discussed in detail below, GIANOS appears to have traveled to Washington, D.C., from

Pennsylvania on or about January 5, 2021, and participated in the riot at the U.S. Capitol.

According to records associated with his Pennsylvania driver’s license, GIANOS is 5’10.” As a

part of this investigation, I have reviewed the image of GIANOS associated with his July 2019

Pennsylvania driver’s license which depicts GIANOS, who has dark brown hair and a dark beard.

       11.     RACHEL MYERS (hereinafter MYERS) is a 30-year-old American citizen. As

discussed in detail below, MYERS appears to have traveled to Washington, D.C., from

Pennsylvania on or about January 6, 2021, and participated in the riot at the U.S. Capitol.

                                                 3
           Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 4 of 33




According to records associated with her Pennsylvania driver’s license, MYERS is 5’6.” As a part

of this investigation, I have reviewed the image of MYERS associated with her 2018 Pennsylvania

driver’s license photo which depicts MYERS, who has what appears to be long platinum blond

hair with dark streaks.

       12.     On March 4, 2021, Lawrence Stackhouse was arrested after being charged by

complaint (Case No. 21-CR-240 BAH (D.D.C.)), with violations of 18 U.S.C. § 1752(a)(1) and

(2) and 40 U.S.C. § 5104(e)(2)(D) and (G).

       13.     Stackhouse’s cellular telephone was searched pursuant to both Stackhouse’s

consent and a judicially authorized search warrant. A review of the contents of Stackhouse’s

cellular telephone revealed numerous text messages between Stackhouse and a telephone number

ending in “3208,” (the “3208 Number”), which was saved in Stackhouse’s telephone as

“Michael.” 1 The 3208 Number is believed to be used by GIANOS because, among other reasons,

(1) a review of T-Mobile records received pursuant to a judicially authorized search warrant

reveals that while it does not have a subscriber, the MSISDN Name for the device associated with

the 3208 Number is “Michael Gianos,” and (2) on December 28, 2020, the 3208 Number texted

Stackhouse “Yo bro it’s Michael this is my new number” and “Gianos.”

       14.     A review of Facebook records received pursuant to a judicially authorized search

warrant reveals that the Facebook account with vanity name “Michael.Gianos” is subscribed to

“Michael Gianos” with the email address mikeyflawless@aim.com. AOL records received

pursuant to a subpoena indicate that mikeyflawless@aim.com is subscribed to “Michael Gianos.”

Certain public-facing pictures posted by the “Michael.Gianos” Facebook page in June 2020 and



       1
              The text messages and Facebook messages included herein contain shorthand
language and grammatical errors, but have been unaltered for integrity; information in brackets
have been added for contextual reference.
                                               4
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 5 of 33




March 2020, show an individual who appears to be GIANOS, who has dark brown hair and a dark-

colored beard.

       15.       On January 12, 2021, the Federal Bureau of Investigation (“FBI”) received a tip

from a confidential witness (“CW-1”) who provided two screenshots (Images 1 and 2) of a

Facebook post from Facebook user “Rachel Myers” (depicted in Image 1 to the left of the name

“Rachel Myers”). CW-1 stated “This is a coworker of my friend who claimed she was ok with a

civil war 3 weeks before storming the capitol building with fellow terrorists.”




                                             Image 1




                                                 5
         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 6 of 33




                                              Image 2

       16.     On January 17, 2021, the FBI received a tip from a second confidential witness

(“CW-2”). CW-2 provided a hyperlink to a Facebook page associated with the username name

“rachel.myers.129” and stated that, “This person posted a photo of the protesters/rioters at the

Capitol Building from outside, on her Facebook page and called it, a beautiful sight. The following

day, the photo had been removed. She has since changed the settings of her page so that it cannot

be viewed by the public, so its possible she may have posted more photos or information about

any involvement in the violent activity. I dont know that she broke any laws or entered the building,

but based on the photo she posted, I do believe she at least went to the Capitol Building during the

day of the riot. I do know that she is a very fanatical Trump supporter.”




                                                 6
         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 7 of 33




       17.     During an interview with FBI agents following his arrest, Lawrence Stackhouse

stated that he traveled to Washington, D.C. and stayed in a hotel with MYERS. Stackhouse further

stated that MYERS entered the Capitol building during the riot on January 6, 2021.

       18.     The search of Stackhouse’s cellular telephone referenced above revealed numerous

text messages with a telephone number ending in “8309” (the “8309 Number”), which was saved

in Stackhouse’s telephone as “Rachel M,” related to the November 3, 2020 election and traveling

to Washington, D.C. for January 6, 2021. Facebook records received pursuant to a subpoena

indicate that the Facebook account with vanity name “Rachel.Myers.129” is subscribed to “Rachel

Myers” with the 8309 Number as a verified phone number. Certain public-facing pictures posted

by the “Rachel.Myers.129” Facebook page in March 2021 and April 2020, show an individual

who appears to be MYERS, who has long platinum blond hair. AT&T records received pursuant

to a subpoena indicate that the 8309 Number is subscribed to RACHEL MYERS. Location data

received pursuant to a search warrant indicates that the cellular devices associated with the 8309

Number and the 3208 Number were in the vicinity of the U.S. Capitol Building on January 6, 2021.

       19.     A review of Stackhouse’s cellular telephone and GIANOS’ and MYERS’ Facebook

records indicates that in the period between the November 3, 2020 U.S. Presidential Election and

January 6, 2021, GIANOS and MYERS exchanged a number of messages reflecting their belief

that the Presidential Election had been “stolen,” their knowledge about the Certification process

and their desire to stop that process.

       20.     On November 16, 2020, using Facebook, GIANOS sent a Tweet (Image 3) from

Rudy Giuliani to MYERS, in which Giuliani claimed to have evidence of fraud.




                                                7
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 8 of 33




                                           Image 3

       21.    On December 19, 2020, MYERS sent GIANOS, by Facebook, a tweet from then

President Trump (Image 4) claiming that it was “[s]tatistically impossible to have lost the 2020

Election.”




                                           Image 4

                                               8
         Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 9 of 33




       22.     That same day MYERS also messaged GIANOS on Facebook “January 6th the

house starts and there’s already a ton of them objecting the Biden votes.” GIANOS responded

“Read into that a lot,” and “But we need both the house and senate to vote on it.. or the‘fairthless

electors’ as their called.” MYERS also messaged GIANOS “The 6th is when they meet for the

electoral part” as well as a series of screenshots of Tweets regarding the certification process, two

of which are included as Images 5A and 5B:




               Image 5A                                       Image 5B




                                                 9
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 10 of 33




       23.    On December 23, 2020 MYERS sent GIANOS the following screenshots on

Facebook, which discuss the Vice President Pence’s role in the January 6, 2021 certification

process:




              Image 6A                                  Image 6B




                                            10
Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 11 of 33




     Image 6C                           Image 6D




                               11
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 12 of 33




       24.    On December 28, 2020 GIANOS and MYERS exchanged the following messages,

including a screenshot of a text conversation, on Facebook:

              MYERS:




                                     *               *        *

              GIANOS:                Wait Larry ?

              GIANOS:                Stack house ?

              MYERS:                 Yeah



                                               12
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 13 of 33




              GIANOS:               Hahahah

              GIANOS:               Yeah he good people me and him were at the atilis protest ..
                                    I’m gonna text his ass

              GIANOS:               Fuk do me favor I lost my personal phone in nyc. So Larry
                                    has my 4518 number Have Larry text me. [the 3208
                                    Number]

              GIANOS:               This is gonna be an event to remember

       25.    On December 28, 2020, GIANOS and Stackhouse exchanged the following text

messages about traveling to Washington, D.C. for the January 6, 2021 “Stop the Steal” rally and

subsequent march to the United States Capitol:

              GIANOS:               I heard from Rachel ur going to dc ?.

              STACKHOUSE:           My man. Yessir thats the plan !

              STACKHOUSE:           u down ?

              GIANOS:               Bro I got a hotel

              STACKHOUSE:           U wanna fight so bad

              GIANOS:               Night before too

                                *                *              *

              STACKHOUSE:           Your going the day before ?

              GIANOS:               Yeah Tuesday

              GIANOS:               U can come with me if u want

              STACKHOUSE:           Fuck that’s my girls bday

              GIANOS:               I’m going that night

              GIANOS:               Tuesday night

                                *                *              *

                                                 13
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 14 of 33




              GIANOS:               Hotel confirmed

              STACKHOUSE:           That’s where Rachel is staying too

              GIANOS:               I don’t think so

              STACKHOUSE:           Oh lol

              GIANOS:               She told me somewhere else I think

              GIANOS:               But same area

              GIANOS:               Capital hill is where it’s all at

              STACKHOUSE:           Might crash on ur floor on the 6th

Based on the messages between MYERS and GIANOS on December 28, 2020, I believe that the

“Rachel” that GIANOS and Stackhouse discussed in paragraph 25 is MYERS.

       26.    That same day, GIANOS sent MYERS a photograph of his hotel confirmation from

Expedia (Image 7), followed later by a screenshot of his hotel confirmation (Image 8), which had

been sent to GIANOS via automated text.




                                               14
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 15 of 33




                         Image 7                         Image 8

       27.    Records from Homewood by Hilton obtained pursuant to subpoena indicate that

GIANOS stayed at the Homewood Suites by Hilton Washington DC Capitol-Navy Yard location

from January 5, 2021 until January 7, 2021.

       28.    On December 26, 2020, in response to GIANOS’ question “What hotel U staying

at ?” MYERS sent GIANOS a screenshot of the Orbitz.com webpage for the Residence Inn

Washington Capitol Hill/Navy Yard.




                                              Image 9


                                                15
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 16 of 33




       29.     On December 30, 2020, MYERS and Stackhouse discussed their apparent hopes to

get into an altercation with counter-protestors on January 6, 2021:

               MYERS:                 1. I’m not scared of those little faggots
                                      And if I died it would be something I was so passionate for
                                      so whatever lol

               STACKHOUSE:            You’re not dying rach

                                     *                *               *

               MYERS:                 Those twerps love weapons

               MYERS:                 Cuz they can’t fight

               STACKHOUSE:            I’ll give u a knife

               STACKHOUSE:            [name redacted] mentioned lot of bear mace

               MYERS:                 Yeah I heard that too

                                 *               *              *

               MYERS:                 I’ll be marching with the PBs so they stay away from me

Based on my training and experience, the investigation, and the context of the conversation, I

believe that “PB” refers to the Proud Boys. The Proud Boys is a nationalist organization with

multiple U.S. chapters and potential activity in other Western countries. The group describes itself

as a “pro-Western fraternal organization for men who refuse to apologize for creating the modern

world; aka Western Chauvinists.” Proud Boys members routinely attend rallies, protests, and other

First Amendment protected events, where they sometimes engage in violence against individuals.

       30.     On January 2, 2021, GIANOS exchanged messages with a Facebook user about

January 6, 2021. These messages included a discussion of the clothing that GIANOS intended to




                                                 16
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 17 of 33




wear on January 6, 2021: “Idk what maga hat to wear blue or Res,” “Red,” “I’m wearing my Trump

shirt but I’ll have sweatshirt y won’t see my t shirt unless it gets hot.”

       31.     On January 4, 2021, GIANOS messaged the same Facebook user referenced in

paragraph 30. GIANOS indicated that he was “getting worked up” and “Doin Wash and picking

up.” GIANOS also sent a photograph of the sweatshirt that “just came out of wags” “wash.” The

sweatshirt, captured in Image 10 below, is of a black sweatshirt with a bright yellow hood lining

that depicts a snake and reads “DON’T TREAD ON ME.” The Facebook user with whom

GIANOS was messaging responded “Nice!!” and “I’ll wear a cobra Kai shirt.” I believe, based

on my training, experience and participation in this investigation, that in this conversation

GIANOS was indicating that he was packing for his trip to Washington D.C. and that he would be

wearing the pictured sweatshirt.




                                              Image 10


                                                  17
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 18 of 33




       32.     On January 4, 2021, GIANOS sent Stackhouse the following text messages

indicating his intention to attend the “Stop the Steal” rally and then march to the U.S. Capitol:

              GIANOS:                 Main event is starting at 7 am

              GIANOS:                 Then March to capital

       33.     Between January 2 through January 5, 2021, MYERS and Stackhouse exchanged

text messages regarding their upcoming trip to Washington, D.C. on January 6, 2021, including

messages about their hotel reservations and logistics for their drive to D.C. Also on or about

January 5, 2021, MYERS messaged another Facebook user that “I’m leaving for dc at 3 am” and

“There’s a huge Trump rally , over a million people flying and driving in. This is when the electoral

college votes. Tomorrow will be big . I’ll post”.

       34.     On the morning of January 6, 2021 GIANOS and Stackhouse texted attempting to

meet up in person. At 5:48 a.m. GIANOS texted Stackhouse a PDF attachment entitled, “Guest-

Instructions_March_to_Save_America_Rally_updated.pdf.” At 8:45 a.m. GIANOS shared his

location via Google with Stackhouse, latitude 38.899333 and longitude -77.041098. Your affiant

looked up this location via Google Maps, and it resolved to a location near the World Bank (J

Building) on the 1700 block of Pennsylvania Avenue between 18th Street NW and 17th Street

NW; approximately 2.7 miles away from the U.S. Capitol.

       35.     At approximately 2:22 p.m., U.S. Capitol CCTV footage depicts an individual that

I believe, based on my comparison of MYERS’ known image and description, to be MYERS, who

has platinum blond hair and is wearing a black headband/ear muffs, and American flag scarf and

dark jacket and pants, and Stackhouse, 2 who is wearing a blue beanie, red and white striped


       2
              A witness who worked with Stackhouse identified Stackhouse as the individual in
a blue Trump beanie, jeans and dark sweatshirt with a “B” on the left breast with a backpack
captured on U.S. Capitol Police CCTV from January 6, 2021.
                                                 18
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 19 of 33




                                           Image 11

       36.    Seconds later, an individual wearing what appears to be a red “Make American

Great Again” hat and a dark sweatshirt with a bright yellow inner hood entering the U.S. Capitol

building through the Senate Wing Door. A still of the footage is depicted in Image 12. This

clothing is consistent with the clothing that GIANOS indicated he would be wearing on January

6, 2021, as discussed in paragraphs 28 and 29. This individual’s build and height are also

consistent with GIANOS, based on information associated with his driver’s license and

photographs posted on his Facebook page.




                                              19
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 20 of 33




                                        Image 12

      37.    At approximately 2:31 p.m, GIANOS, MYERS and Stackhouse can be observed

entering the Rotunda. See Image 13. At this time, GIANOS is holding a flag and holding his

cellular telephone, which is illuminated, in a way consistent with him filming or taking

photographs. After less than one minute, GIANOS, MYERS and Stackhouse turned around and

exited the Rotunda. See Image 14. GIANOS’ black “Don’t Tread on Me” sweatshirt and red

“MAGA” hat are visible.




                                           20
Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 21 of 33




                            Image 13




                            Image 14




                               21
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 22 of 33




       38.    At approximately 2:33 p.m., GIANOS, MYERS and Stackhouse are observed

walking in a hallway in Speaker Nancy Pelosi’s office suite. See Images 15-17. GIANOS, MYERS

and Stackhouse then enter an office within the suite where they remain for less than one minute.




                                           Image 15




                                           Image 16




                                               22
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 23 of 33




                                             Image 17

       39.     On January 6, 2021, GIANOS and a Facebook user, referred to herein as Individual

1, exchanged the following messages in which GIANOS admits to being inside of Speaker Nancy

Pelosi’s office inside of the U.S. Capitol building:

              GIANOS:                 So many people

              INDIVIDUAL 1:           That’s awesome! Any pussy antifa yet

              INDIVIDUAL 1:           How’s it going g my husband said he got in the capital and
                                      they started pepper spraying

              INDIVIDUAL 1:           I can’t believe that pence let the country down

              GIANOS:                 Yeah I was in there

              GIANOS:                 Stormed Nancy office

              INDIVIDUAL 1:           Fuck yeah!!’ Did you get a picture

              INDIVIDUAL 1:           People are saying there was an active shooter

              GIANOS:                 Plenty videos


                                                 23
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 24 of 33




              GIANOS:                 Yeah

              GIANOS:                 They shot a lady

                                  *              *              *

              INDIVIDUAL 1:           I love that we took the capital

              GIANOS:                 I kneo

              GIANOS:                 Know 3

       40.     On January 6, 2021, GIANOS and a Facebook user, referred to herein as Individual

2, exchanged the following messages in which he admits to being inside of Speaker Nancy Pelosi’s

office inside of the U.S. Capitol building:

              GIANOS:                 Do u know what happen

              GIANOS:                 Their voting on 25th Amendment

              INDIVIDUAL 2:           Do u know

              GIANOS:                 Yes I was here I kneo I was inside

              GIANOS:                 I know

              GIANOS:                 I watched them take her laptop

              INDIVIDUAL 2:           Who’s laptop

              INDIVIDUAL 2:           U went inside

              GIANOS:                 Pelosi

                                  *              *              *

              GIANOS:                 We weren’t there breaking shit


       3
              GIANOS also later messaged Individual 1 that he was “on the grass not inside
lmao,” which based on the other facts discussed herein, including his messages to Individual 1 that
he “stormed Nany office,” appears to be a false exculpatory statement.
                                                24
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 25 of 33




              GIANOS:                 Yeah

              GIANOS:                 I was there I know

              INDIVIDUAL 2:           [photograph depicting the U.S. Capitol grounds on January
                                      6, 2021]

              GIANOS:                 That’s not in the capital

              GIANOS:                 Video I have are inside

              GIANOS:                 Just don’t wanna send them

              INDIVIDUAL 2:           There’s more

              INDIVIDUAL 2:           Whatever

              INDIVIDUAL 2:           Why

              GIANOS:                 Cause their gonna arrest people

              GIANOS:                 Not good what happen

              INDIVIDUAL 2:           They got face recognition of mad people

              INDIVIDUAL 2:           Then ur going to get arrested too

              INDIVIDUAL 2:           Stupid

              GIANOS:                 Mask 4

I believe, based on my training, experience and participation in this investigation, that in this

conversation GIANOS explained that he had been inside the U.S. Capitol, where he watched

Nancy Pelosi’s laptop being stolen. GIANOS also explained that he had videos from inside of the

U.S. Capitol, but did not want to send them in an effort to avoid arrest. GIANOS also noted that



       4
                GIANOS later messaged Individual 2 that he “didn’t go inside,” which based on
the other facts discussed herein, including his messages to Individual 2 that he “watched them take
[Nancy Pelosi’s] laptop,” appears to be a false exculpatory statement.
                                                 25
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 26 of 33




he did not believe that he would be identified because he had worn a mask. As evidenced in the

CCTV footage, GIANOS was in fact wearing a mask inside the Capitol that covered most of his

face and did enter an office within Speaker Pelosi’s suite. I am aware that a laptop that belonged

to Speaker Pelosi’s staff was in fact stolen on January 6, 2021.

       41.     On January 6, 2021, GIANOS and a Facebook user, referred to herein as Individual

3, exchanged the following messages in which he admits to being inside of U.S. Capitol building:

              INDIVIDUAL 3:           How’s it going

              GIANOS:                 Stormed capital

       42.     According to records received from T-Mobile pursuant to a judicially authorized

search warrant, GIANOS, using the 3208 Number, sent text messages evidencing his presence at

the United States Capitol on January 6, 2021. For instance, on January 6, 2021, in response to a

message reading “What’s it looking like Mike? You guys safe?” GIANOS responded “Yeah bro

shit got wild man” and Took over the capital.”

       43.     On January 7, 2021, GIANOS and Stackhouse exchanged the following text

messages:

              GIANOS:                 U get home ok

              STACKHOUSE:             Just got home bro

              STACKHOUSE:             Yo u have any good videos from inside

              GIANOS:                 Nah deleted lot of shit

              GIANOS:                 Only the video I’m grabbing from telegram

              STACKHOUSE:             [Liked “Only the video I’m grabbing from telegram”]

              GIANOS:                 Those people gonna go to jail main

              STACKHOUSE:             Ehhh

                                                 26
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 27 of 33




              GIANOS:                FBI is looking for the Viking Antifa dude

              GIANOS:                Their asking people if they see videos to report

              STACKHOUSE:            Supposedly they caught him

              GIANOS:                Yeah I hope so

              GIANOS:                Fkn Antifa fuk

              STACKHOUSE:            His Twitter IS QANON

              GIANOS:                Oh wow

              STACKHOUSE:            Idk

              GIANOS:                Man so much crazy shit happen

              STACKHOUSE:            Don’t regret one thing

              STACKHOUSE:            Fuck the government

              GIANOS:                Yeah man I feel the same about that shit

I believe, based on my training, experience and participation in this investigation, that in this

conversation GIANOS explained that he had deleted the videos that he took inside the U.S. Capitol

building (“Yo u have any good videos from inside” “Nah deleted lot of shit”) and did not regret

his participation in the riot on January 6, 2021 (“Don’t regret one thing” “Fuck the government”

“Yeah man I feel the same about that shit”)

       44.    On or about January 7, 2021 through on or about January 8, 2021, MYERS and

Stackhouse exchanged the following text messages:

              STACKHOUSE:                     Hey. You good ?

              STACKHOUSE:                     We are legit PIC 5


       5
              This is believed to be an acronym for “partners in crime.”
                                                27
Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 28 of 33




       MYERS:                        Just not thinking about any of it anymore

       MYERS:                        Don’t tell anyone you were there. Just move forward
                                     and we will deal with whatever comes our way if it
                                     happens !

       STACKHOUSE:                   omg stop buggin

       MYERS:                        I’m not lol

       MYERS:                        I just don’t wanna talk about any of it anymore

       STACKHOUSE:                   TMZ already released pictures of who they want.
                                     We’re good

                             *              *                *

       MYERS:                        I know you wouldn’t and i doubt it’ll ever happen
                                     but if [redacted] ever tries to text you for info , tell
                                     him nothing. You know he’s nosey and always
                                     wants to know things

       STACKHOUSE:                   Don’t even gotta worry about that

       MYERS:                        [sends photograph of rioters breaching the Capitol]

       STACKHOUSE:                   U scared me. Tho ihit we were in it

       MYERS:                        Lamo no but look

       MYERS:                        The doors were literally opened

       STACKHOUSE:                   Let us right in

       MYERS:                        What a set up

       STACKHOUSE:                   Trump will be president

       MYERS:                        Larry!!!!! Lol

       STACKHOUSE:                   I’m not giving up

[texts omitted regarding discussion whether the election results would be overturned]

       STACKHOUSE:                   I think this is what he was talking about in his
                                     speech


                                       28
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 29 of 33




               MYERS:                         Look at us getting our hopes up again. We will be
                                              storming the Capitol next week

               STACKHOUSE:                    Delete that text lol.

       45.     On or about January 8, 2021, MYERS replied to a comment on a Facebook post,

stating “yes they let them in because it was a set up and I watched it all happen. This was an

absolute inside job.” She also commented on another post “Girl I was there Wednesday, and NO

RIOT ever happened. The media are absolute liars. The cops opened those doors for everyone to

walk right into the Capitol.” On or about that same day, MYERS messaged another Facebook user

that “Pence is a deep state traitor !!!!” and asked “Why would he set us up to come there . Tell us

he was holding the lien and only count legal votes then put out a tweet in the middle of Trumps

speech that he can’t change anything”.

       46.     On January 12, 2021 GIANOS and Stackhouse again texted about the U.S. Capitol

breach that occurred on January 6, 2021. GIANOS sent Stackhouse two articles, one of which was

entitled “FBI: Capitol Pipe Bomb had ‘explosive igniters,’ ‘hundreds’ of arrests expected in capitol

attack.” After sending the articles, GIANOS and Stackhouse exchanged the following text

messages:

               GIANOS:                U see this

               STACKHOUSE:            Yea. Def not us

               GIANOS:                100% not ya

               GIANOS:                Us

               STACKHOUSE:            It went on for so long n ppl fucked the place up

               STACKHOUSE:            1000s were in

               GIANOS:                yea rheir idiots man



                                                   29
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 30 of 33




               GIANOS:                somon planted outside wtf

               GIANOS:                could have killed us

               GIANOS:                Idiots

               STACKHOUSE:            Inside too

               STACKHOUSE:            Two pipe bomb duds

               GIANOS:                Yeah

               GIANOS:                Target said they were live

               GIANOS:                They just didn’t go off for what ever reason

               GIANOS:                Connected to timer

               STACKHOUSE:            I Don’t believe it one bit

I believe, based on my training, experience and participation in this investigation, that in this

conversation GIANOS explained that he and Stackhouse could have been killed by the bombs that

had been placed on U.S. Capitol grounds (“somon planted outside” “wtf” “could have killed us”).

       47.     On or about January 15, 2021 MYERS messaged another Facebook user and stated,

“By the time I even made it to the Capitol there were already flash bombs being exploded from

people”; “And there were just random guys that would come up to you and be like LETS GO!!!!!

We’re going in!!!! Grab that over there. Push them people over there”; “It was so strange.”

MYERS then claimed, “It was him and 226 other antifa members who spread out and planned fhis

(sic) attack,” and “Makes sense when I look back at it all.” MYERS then stated that with respect

to January 6, 2021, “It was one of the best days of my life.”

       48.     On or about January 19, 2021, MYERS texted Stackhouse the photogram in Image

18, writing “[name redacted] just sent me this” “From the dudes in acs story apparently!!” to which

Stackhouse replied, “There’s a Delilah’s in AC tho too sooo that helps” and “lol legit me n u lol.”



                                                   30
       Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 31 of 33




In the image, someone has circled the backpack of a woman who appears to be on U.S. Capitol

grounds on January 6, 2021. The woman is believed to be MYERS because she has platinum

blond hair and is wearing an American flag scarf and backpack consistent with the clothing that

MYERS can be observed wearing in CCTV footage on January 6, 2021. It appears that the

backpack contains the logo for Delilah’s, a gentlemen’s club in Philadelphia. Pennsylvania

Department of Labor records indicate that MYERS works at Delilah’s. MYERS’ Facebook

records also indicate that MYERS “likes” “Delilah’s Gentleman’s Club and Steakhouse” and has

“checked-in” there on multiple occasions. The clothing and backpack of the individual walking

with MYERS in the photograph in Image 18 is consistent with the clothing that Stackhouse can be

observed wearing in CCTV footage on January 6, 2021.




                                          Image 18




                                              31
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 32 of 33




                                CONCLUSIONS OF AFFIANT

       49.     Based on the foregoing, your affiant submits that there is probable cause to believe

that MICHAEL GIANOS and RACHEL MYERS violated 18 U.S.C. § 1752(a)(1) and (2), which

makes it a crime to (1) knowingly enter or remain in any restricted building or grounds without

lawful authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly

conduct of Government business or official functions, engage in disorderly or disruptive conduct

in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,

in fact, impedes or disrupts the orderly conduct of Government business or official functions; or

attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service, including the Vice President, is or will

be temporarily visiting; or any building or grounds so restricted in conjunction with an event

designated as a special event of national significance.

       50.     Your affiant also submits there is also probable cause to believe that MICHAEL

GIANOS and RACHEL MYERS violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a

crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in

disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings

with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either

House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations




                                                 32
        Case 1:22-cr-00074-JMC Document 1-1 Filed 11/22/21 Page 33 of 33




of, a committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket

in any of the Capitol Buildings.




                                                 ___________________________________
                                                 Task Force Officer Neil Larson, Jr.
                                                 Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22nd day of November 2021.

                                                                     Zia M. Faruqui
                                                 ___________________________________
                                                 ZIA M. FARUQUI
                                                 U.S. MAGISTRATE JUDGE




                                               33
